Case 1: 05- --cr 10033- .]DT Document 31 Filed 06/24/05 Page 1 of 4 Page|D4
@§AO 199A (Rev. ()/9':‘) Ordcr Setting Conditions of Release _,' _

 

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United States of America

ORDER SETTING CONDITIONS

 

V. OF RELEASE
Micheal Rameriz Case Number: 1205-10033-01-'1`
Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

 

 

directed The defendant shall appear at (if blank, to be notified) Urlited States District Court
Place
111 S. Highland Aife, Jackson, TN on Fridav. Sentember 23. 2005 at 9:00 a.m.
38301 DateandTirne

Release on Personal Recognizance or Unsecured Bond
lT IS FUR'I`HER ORDERED that the defendant be released provided that:
( \/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars (S )
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.

 

DlSTRlBUT]UN: COURT DEFENDANT PRETREAL SERVICES U.S. ATTORNEY U.S. MARSHAL
This document entered on the docket sheet ln compliance
with sure 55 and/or 32(1)) Fnch on 3 '7 `

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Additional Conditions of Release

 

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community
lT lS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ) (6) The defendant is placed iri the custody of:
(Name of person or organization)
(Address)
(City and state) (Tei. No.)
who agrees (a) to supervise the defendant in accordance with all the condl;ions of release, (b) to use every effort to assure the appearance of theiefendant at all scliedulet‘ court
proceedings, and (e) to notify the court immediately in the event the defendant violates any conditions of release or disappears

 

 

 

Signed:

 

Custodian or Proxy Date

{ ) ('l) Thedefendantshall;
(X)(a} reporttothe _ U S. ~Probatiori Off;l_ce as directed

telephone number 731" fl 2 1_ 9 240 , TtOl later than
( ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

 

( ) (c} post with the court the following indicia of ownership of the above-described property, or the following amount or percentage ofthe above-described

 

) (d) execute a bail bond Witli solvent sureties in the amount of$
) (e) maintain or actively seek employment

) (f) maintain or commence an education program.

) (g) surrender any passport to:

) (h) obtain no passport.
) (i) abide by the following restrictions on personal association, place of abode, or travel:

 

 

( ) (j) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

( ) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows:

 

 

( ) (l) return to custody each (week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

) (m) maintain residence at a halfway house or community corrections ccnter, as deemed necessary by the pretrial services office or supervising officer.

] { ) refrain from possessing a tirearin, destructive device, or other dangerous weapons

) (o) refrain from ( }any ( )excessive use of alcobo|.

) ( ) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

practitioner.

( ) (q) submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substancel Such methods may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form ofprohibited substance screening or testingl

( ) (r) participate in a program of`inpatientor outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.

{ ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy ofany prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of release.

( ) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which ( ) will or
( ) will not include electronic monitoring or other location verification system. You shall pay all or part ofthe cost ofthe program based upon your ability
to pay as determined by the pretrial services office or supervising officer.

( ) (i) Cu rfew. You are restricted to your residence every day ( } from to , or ( ) as directed by the pretrial
Services office or supervising officer; or

( ) (ii) Homel)etention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii) Home lncarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.

( ) (u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, ineludi`ng, but not limited

to, any arrest, questioning, or traffic stop.

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DlSTRJBUTlON: COURT DEFENDANT PRETRIAL. SE.RVICES U.S. ATTORNEY U.S. MARSHAL

Case 1:05-cr-10033-.]DT Document31 Filed 06/24/05 F>age$qjagder P§ge|nl;.) 45 Pages

@§>AO l99C (Rev.12l03) Advice of Penalti`es . . .
Advice of Penalties and Sanctions

TO THE DEFENDANT:
YOU ARE ADVISED ()F THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a 8250,000 fine or both to obstruct a criminal
investigationl lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or morc, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted_

Acknowledgment of Defendant

I acknowledge that I am the defendant in this case and thatI am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. l am aware of the penalties and sanctions set forth

 

 

 

/Signature of Defendant
317 N. park k
Address
main d`£\l 3a cr t? iran watson
City and State Telephone

Directions to United States Marshal

( ) defendant is ORDER_ED released after processing
The United States marshal is ORDER_ED to keep the defendant in custody until notified by the clerkor judge that the defendant
has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the appropriate

judge at the time and place specified, if still in custody. %
Date: Q~`{ %JAA,L :)MJ b, Q‘U`M

y signature errudiciai officer

 

Name and Title of Judicial Officer

DISTRIBUT[C|N: COUR'I` DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL

 

DISTRIC COURT - WESERNT D"T'CT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

S. Drake Martin
SPENCER & MARTIN
202 W. Baltimore Street
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

